Division I Athletes may be eligible for money from class action
settlements
San Francisco, CA--(PR Newswire)--The following statement is being issued by Hagens Berman
Sobol Shapiro LLP and Winston & Strawn LLP:
Settlements have been reached in class-action lawsuits, In re College Athlete NIL Litigation,
Case No. 4:20-cv-3919 and Hubbard v. National Collegiate Athletic Association, et al., Case No.
4:23-cv-01593, alleging the NCAA and Power Five Conferences broke antitrust laws by
agreeing not to provide benefits and compensation to college athletes for their participation in
college sports or for the use of their names, images and likenesses (NIL), agreeing to limit
scholarships and scholarship amounts, and agreeing not to provide college athletes academic
achievement awards.

    “NCAA college athletes have waited decades for this moment, and their right to receive
    the full value of their hard work has finally arrived,” said Steve Berman, managing
    partner and co-founder of Hagens Berman. “We are incredibly proud to be in the final
    stages of historic change.”
You may be included in one or both of the settlements and be entitled to money or other benefits
if (1) you competed on a Division I athletic team and were declared initially eligible for
competition at any point from June 15, 2016 to Sept. 15, 2024, and/or (2) you competed on a
Division I athletic team any time between April 1, 2019, and September 15, 2024, and you would
have qualified for an academic achievement award at your school, and/or (3) you will compete as
a Division I athlete beginning in Fall 2025.
Complete descriptions of the settlement classes are available at
www.collegeathletecompensation.com.

Payments under the settlements will be automatically made to:
   •   Power Five FBS Football and Men’s Division I Basketball athletes who received a full
       grant-in-aid for broadcast NIL awards, videogame NIL awards, athletic services awards,
       and awards for lost third-party payments for NIL (if NIL deal information has been
       provided to Plaintiffs by their school);
   •   Power Five Women’s Division I Basketball athletes who received a full grant-in-aid for
       broadcast NIL awards, athletic services awards, and awards for lost third-party payments
       for NIL (if NIL deal information has been provided to Plaintiffs by their school); and
   •   Any Division I athlete who competed in the same sport prior to and after July 1, 2021,
       and received NIL payments from a third party after July 1, 2021, and information about
       those payments has been provided to Plaintiffs by their school.
   •   All Power Five athletes and Big East Basketball athletes who competed on a team
       anytime during the 2019-2020, 2020-2021, or 2021-2022 academic years.
You must file a Claim Form to receive a settlement payment if:
   •   You are a Division I athlete other than a Power Five Football or Basketball player and
       you want to receive payments for participation in college sports;
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   •   You are a Football or Basketball athlete not in the Power Five and you want to receive
       payment for videogames;
   •   You are a Division I athlete who competed in the same sport prior to and after July 1,
       2021, and received an NIL deal after July 1, 2021 that has not been provided to Plaintiffs
       by your school (check www.collegeathletecompensation.com to find out if your deal was
       reported to Plaintiffs); or
   •   You competed on a Division I athletic team that was not a basketball team in the Big East
       or a team in the Power Five Conferences anytime during the 2019-2020, 2020-2021, or
       2021-2022 academic years and you would have qualified for an academic achievement
       award at your school.
Review your estimated payment amount approximately [60 days from Notice Date] at
www.collegeathletecompensation.com and file a Claim Form if one is required for you to receive
all the money you qualify for. For more information about whether a claim form is required, go
to www.collegeathletecompensation.com.
Claim Forms may be submitted online or printed and mailed to the Settlement
Administrator by [date].
In addition, student-athletes who did, do, or will compete on a Division I athletic team anytime
between June 15, 2020 and the end of the Injunctive Relief Settlement Term, which will end ten
years after the Settlement is approved, may benefit from changes to NCAA and conference rules
that will allow schools and conferences to provide to athletes direct benefits and compensation
for NIL and participation in college sports, and additional benefits over and above annual
existing scholarships and all other benefits currently permitted by NCAA rules, up to an
aggregate yearly amount specified in the Settlement. Complete details regarding these additional
benefits, and other changes that will be made to NCAA rules about benefits and compensation,
including NIL payments from third parties, are provided in the Injunctive Relief Settlement,
available at www.collegeathletecompensation.com.

    Winston’s Co-Executive Chairman Jeffrey L. Kessler, who also negotiated the class-
    action settlements that created the free agency systems for athletes in the NFL and the
    NBA, said, “We’re pleased to take this next step towards finalizing this historic,
    industry-changing settlement that will provide a fair system of revenue sharing for the
    college athletes who generate hundreds-of-millions-of-dollars for their schools. For far
    too long, these athletes have been deprived of their economic rights in an unjust system
    that will now, finally, be fundamentally reformed. The new system will allow athletes to
    be fairly rewarded for their contributions and college sports will continue to thrive.”


Media contact (press only): [name][firm][phone number]




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